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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                     Southern District
                                                  __________  District of
                                                                       of __________
                                                                          Texas


                       James Martinez                             )
                             Plaintiff                            )
                                v.                                )      Case No.   4:24-cv-02937
                     Defendant 1, et al.,                         )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          James Martinez                                                                                                     .


Date:          09/24/2024
                                                                                           Attorney’s signature


                                                                                Marshal Hoda, TX Bar No. 24110009
                                                                                       Printed name and bar number
                                                                                         3120 Southwest Fwy
                                                                                         Ste 101 PMB 51811
                                                                                          Houston, TX 77098
                                                                                            United States
                                                                                                 Address

                                                                                    marshal@thehodalawfirm.com
                                                                                             E-mail address

                                                                                            (832) 848-0036
                                                                                            Telephone number

                                                                                            (832) 848-0036
                                                                                              FAX number


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